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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA

                         )
DANIEL ANTONIO GARCIA    )
                         )
       Plaintiff,        ) Civil Action No.: 12-3447
                         )
v.                       )
                         )
ALLIANCE SCREENING, LLC, )
et al.                   )
                         )
       Defendants.       )


                   NOTICE OF VOLUNTARY DISMISSAL

TO THE CLERK OF COURT:

     Kindly enter Plaintiff’s voluntary dismissal without prejudice as to Defendant

Alliance Screening, LLC pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).



                                            FRANCIS & MAILMAN, P.C.



                                      BY:     /s/ Gregory Gorski
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Dated: October 11, 2013
